Case 15-12570 Doc 69 Filed 08/22/16 Entered 08/22/16 15:20:00 Main Document Page 1 of 4


                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF LOUISIANA

   IN THE MATTER OF:                             *              NO.     15-12570
                                                 *
   SIDNEY L. SHUSHAN                             *              SECTION A
   CANDIDA F. SHUSHAN                            *
                                                 *              CHAPTER 7
          Debtors                                *
   *      *      *        *      *       *       *


                                                ORDER


          Trustee’s Application for Authority to Sell Property at Private Sale Free and Clear of All

   Liens, Claims and Encumbrances, came on for hearing on the 16th day of August, 2016.

          Appearances:

          Wilbur J. Babin, Jr., Trustee;
          Robin Byrd, Bidder; and
          Mr. Villarejos, on behalf of Desiree! Villarejos, Bidder

          The Court considering all notice and hearing requirements of the Bankruptcy Code,

   Bankruptcy Rules, Local Rules, and any other applicable law having been satisfied and further

   considering the Objection/Higher Offer [P-68] and the law and evidence to be in favor of trustee:

          IT IS HEREBY ORDERED that Trustee’s Application for Authority to Sell Property at

   Private Sale Free and Clear of All Liens, Claims and Encumbrances be and the same is hereby

   granted;

          IT IS FURTHER ORDERED that trustee be and he is hereby authorized to sell the debtor’s

   one hundred (100%) percent interest in Unit 1001 of the Riverwood Condominium at municipal

   address 2301 Edenborn, Metairie, LA (“Unit 1001"), more particularly described on Exhibit “A”

   attached hereto, to Desiree R. Villarejos, her assignee or designee, for and in consideration of the

   payment of THIRTY-SIX THOUSAND AND NO/100 ($36,000.00) DOLLARS;
Case 15-12570 Doc 69 Filed 08/22/16 Entered 08/22/16 15:20:00 Main Document Page 2 of 4


          IT IS FURTHER ORDERED that Desiree R. Villarejos shall close the sale on or before

   thirty (30) days after the signing of this Order;

          IT IS FURTHER ORDERED that should Desiree R. Villarejos fail to close the sale on or

   before thirty (30) days after the signing of this Order, trustee shall be authorized to sell the above

   described property to Robin Byrd, her assignee or designee, for and in consideration of the payment

   of THIRTY-FIVE THOUSAND AND NO/100 ($35,000.00) DOLLARS;

          IT IS FURTHER ORDERED that trustee be and he is hereby authorized to return Robin

   Byrd’s deposit in the amount of THREE THOUSAND AND NO/100 ($3,000.00) DOLLARS;

          IT IS FURTHER ORDERED that trustee be and he is hereby authorized to pay from the

   proceeds of said sale:

          1.      Usual and customary seller’s closing costs including the cost to cancel all
                  inscriptions against the property;
          2.      Property taxes prorated through the date of sale; and
          3.      Riverwood Condominium Association, LLC fees through the date of sale in the
                  approximate amount of SIX THOUSAND THREE HUNDRED FIFTY-ONE AND
                  31/100 ($6,351.31) DOLLARS;

          IT IS FURTHER ORDERED that the balance of the proceeds, less and except a $5,000.00

   plus 10% of the purchase price over $30,000.00 (currently $600.00) carve out for the Bankruptcy

   Estate shall be paid to Ajubita, Lefwich & Salzer, LLC in full satisfaction of that mortgage recorded

   on January 18, 2011 at Instrument No. 11102373 and Mortgage Book 4472 Page 372 of the

   mortgage records of the Parish of Jefferson, State of Louisiana, which the sheriff and ex officio

   recorder of mortgages of Jefferson Parish shall be authorized to cancel upon payment of the

   purchase price;

          IT IS FURTHER ORDERED that Ajubita, Lefwich & Salzer, LLC shall retain an

   unsecured claim for the balance of the debt owed to;
Case 15-12570 Doc 69 Filed 08/22/16 Entered 08/22/16 15:20:00 Main Document Page 3 of 4


          IT IS FURTHER ORDERED that said property shall be sold “as is, where is” with no

   warranty whatsoever except as to clear title;

          IT IS FURTHER ORDERED that said property shall be sold free and clear of all liens,

   claims and encumbrances in so far as they bear against the property referred to herein. Any liens,

   claims and encumbrances, except those set forth above, shall be relegated to the proceeds of the sale

   of said property to be paid in accordance with the provisions of the U.S. Bankruptcy Code, and all

   such liens, claims, and encumbrances shall be canceled upon payment of the purchase price and the

   sheriff and ex officio recorder of mortgages of Jefferson Parish be and he is hereby authorized to

   cancel any such inscriptions in so far as they bear against the property referred to herein;

          IT IS FURTHER ORDERED that the sheriff and ex officio recorder of mortgages of

   Jefferson Parish be and he is hereby specifically authorized to cancel the inscription of that tax lien

   against Sidney Shushan in favor of the U.S. Internal Revenue Service in the amount of $38,507.35

   recorded August 15, 2012 at Instrument #11238786 and Mortgage Book 4541 Page 676 of the

   mortgage records of the Parish of Jefferson, State of Louisiana but only in so far as it bears against

   the property referred to herein;

          IT IS FURTHER ORDERED that trustee be and he is hereby authorized to execute any

   and all documents necessary to effect said sale under the above mentioned terms and conditions.

          IT IS FURTHER ORDERED that movant shall serve a copy of this Order on the required

   parties who will not receive notice through the ECF System pursuant to the Federal Rules of

   Bankruptcy Procedure and the Local Bankruptcy Rules and file a certificate of service to that effect

   within three (3) days.

          New Orleans, Louisiana, August 22, 2016.


                                                          Hon. Elizabeth W. Magner
                                                          U.S. Bankruptcy Judge
Case 15-12570 Doc 69 Filed 08/22/16 Entered 08/22/16 15:20:00 Main Document Page 4 of 4
